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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

                                                MDL No. 2867
 IN RE:                                         No. 18 C 6785
 LOCAL TV ADVERTISING ANTITRUST
 LITIGATION                                     Honorable Virginia M. Kendall




            DEFENDANTS’ COMBINED NOTICE OF INTENT TO APPEAR

       PLEASE TAKE NOTICE that, pursuant to the Minute Order entered by the Court

following the hearing on July 26, 2022 [Dkt. 657], counsel for Defendant TEGNA Inc. intends to

appear in person in courtroom 2503 at the Dirksen Federal Building for the hearing set for August

29, 2022 at 10 a.m.     Some counsel for Defendants Meredith, Nexstar, Raycom, Scripps,

ShareBuilders, and Sinclair likewise intend to appear in person. Counsel for Defendant Griffin

and some counsel for Defendants Meredith, Nexstar, Raycom, Scripps, ShareBuilders, and Sinclair

intend to appear via WebEx. We will immediately notify the Court and counsel for all parties of

any changes in these plans.

  Dated: August 16, 2022                           By: /s/ Ross B. Bricker
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 16, 2022, a true and correct copy of the

foregoing was electronically filed with the Clerk of the Court using the CM/ECF system, which

will provide notice to all counsel of record.

                                                    /s/ Ross B. Bricker
                                                     Ross B. Bricker
